Case 3:20-cr-00086-TJC-JBT Document 563 Filed 04/15/22 Page 1 of 3 PageID 4233




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   v.                                      Case No. 3:20-cr-86(S1)-J-32JBT

   JORGE PEREZ
   RICARDO PEREZ
   SETH GUTERMAN
   AARON DURALL
   JAMES F. PORTER, JR.
   SEAN PORTER
   CHRISTIAN FLETCHER
   NEISHA ZAFFUTO
   AARON ALONZO
   NESTOR ROJAS

                    NOTICE OF COMPLIANCE WITH
               DISCLOSURE DEADLINE OF SUPPLEMENTAL
                    REPORT OF DR. COREY WALLER

         The United States of America, via the undersigned, notifies this Court

   pursuant to this Court’s Order on March 25, 2022 (Doc. 539) and the

   Government’s Status Report Regarding Supplemental Report of Dr. Corey

   Waller (Doc. 547), that the Government provided the two-page supplemental

   report of Dr. Corey Waller to the defendants on even date of this filing. The

   Government provided a copy of the supplemental report and Dr. Waller’s

   Resume (previously provided to defense counsel) to the Chambers of the

   Honorable Timothy J. Corrigan per the Scheduling Order.


                                          1
Case 3:20-cr-00086-TJC-JBT Document 563 Filed 04/15/22 Page 2 of 3 PageID 4234




         Dated this 15th day of April, 2022.

                                         Respectfully submitted,


                                         ROGER B. HANDBERG
                                         United States Attorney

                                   By:   /s/ Tysen Duva
                                         Tysen Duva
                                         Assistant United States Attorney
                                         Florida Bar No. 0603511
                                         300 N. Hogan Street, Suite 700
                                         Jacksonville, Florida 32202
                                         Telephone: (904) 301-6300
                                         Facsimile: (904) 301-6310
                                         E-mail:      tysen.duva@usdoj.gov


                                         JOSEPH S. BEEMSTERBOER
                                         ACTING CHIEF
                                         U.S. DEPARTMENT OF JUSTICE
                                         CRIMINAL DIVISION, FRAUD SECTION

                                   By:   /s/ Gary A. Winters____
                                         Gary A. Winters
                                         James V. Hayes
                                         TRIAL ATTORNEYS
                                         United States Department of Justice
                                         Criminal Division, Fraud Section
                                         1400 New York Avenue, NW
                                         Washington, DC 20005
                                         Tel: (202) 598-2382
                                         Email: gary.winters@usdoj.gov




                                         2
Case 3:20-cr-00086-TJC-JBT Document 563 Filed 04/15/22 Page 3 of 3 PageID 4235




                         CERTIFICATE OF SERVICE

         I hereby certify that, on April 15, 2022, a true and correct copy of the

   foregoing was filed and served on all counsel via the CM/ECF system.


                                                 /s/ Tysen Duva
                                                 Tysen Duva
                                                 Assistant United States Attorney




                                         3
